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3/9/2018                                                       I literally didn't expect this, by DreamerOon on DevlantArt

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      I literally didn't expect this.
      by Oreain«rDonO, Mar 27, 2017, 9:11:31 PM
      Journals / Personal



           "Angerbegets angei''

      I know that Jamison Collins, aka Gottemsqulckfoot, Is trying to rile up ever/one in iiis "why I now
      despise dreamerdon" journal entry. It literally took me by surprise. Am I angry at him for posting
      something like that? Well... Yes, I'm pissed beyond belief.

       But that's not going to help a thing. I will not respond in anger. So I willstart from the very beginning:

       I originally blocked Charles Paulk, aka Silva592, for a situation not because of the character Nanny. It's
       because of the conversation that he and I had about my character Rachel. The conversation quickly turned
       to Silva and me arguing semantics on whether Rachel could escape from the predicament Silva put her in.           ^ Atone fiom DneamerOon©
       I was In favor of her escaping. He was adamant on her not. And that's where the problem was. He was
      taking my own character which I created from scratch, even her race was created from scratch, and trying               Kirch update          2018 Goals         Yearly Stats
                                                                                                                             on Goals tor                             for 2017
       to tell the owner how he believes she should act. That is a huge slap in the face for me. So I blocked him                                                     Hello everyone,
       and told him not to draw Rachel ever again.                                                                                                                    I apologize that
                                                                                                                                                                      this Is 30 days
                                                                                                                                                                      late. Ky
                                                                                                                                                                      previous
       Now upon said block, Silva was part of PIushle-Attack, a group I founded to have a community home. I
       refused to throw him out of the group stating that he had done nothing wrong there. He then left the
                                                                                                                             Post-DMCA             The Hell?          iSooo_ Henry
       group and came back asking for his old position back. The group voted and he was reinstated. No                       strikes
                                                                                                                                                   Ybu leave a guy
                                                                                                                                                                      IChrictmas, X
                                                                                                                                                                      jsuess.«
       questions asked. Then one day he posted this:                                                                     !HI guys,                 alone tor so
                                                                                                                         1So If you                long and then      lYbuhaveto
                                                                                                                         1havent been              he Just attacks    i love the
                                                                                                                         ifollowing me             you. On            ihondays. In
                                                                                                                         1since two days           multlpie fronts.   I case 1 dont see
            "you know I feel I've been needing to say something for a long time now.
            some one can choose to keep me blocked for a entirety for all i care, someone can choose to never                The rules to          Name on            1Passing of a
                                                                                                                             the redraw            Streaming          iLegacy
            want to talk to me for the crap I said in that email stuff like I will never get to drawing your character       poQ                   HI guys,           iHdio Everyone,
            or what ever the heck it was its been too long I can't even remember a this point, but regardless I              The rules             An Issue came      jI virite to you
            have no intention on wanting to speak to that person ever especially If they viewed me as utter scum             Every week 1          up during          ito tell you that
                                                                                                                             wtUposta              BabyRtoebelSSl     i the Google
            though all that hell I put myself In during the summing, mind you at the beginning of June a co              1redraw poD               stream last        ;Account
            worker quick and it was Just me and a worker and one of the main reasons I suffer from wrist pain
            was due way back in 2013 when I was too draw happy at work and having to tag clothes and learning                                 View Gallery • View Prints
            the hard way that those two don't mix well, now imaging with those factors in mind putting myself
            through art Improvement around the time the last monster challenge came out doing hard research
                                                                                                                                   More from DevjantArt
            on youtube to learn how such things as perspective and how the process of making comics and others
            things like 3 point perspective while having to subject myself to both sorting clothes and tagging them          Jackaon Hyde          COMMISSIONER       ^Wtetld
                                                                                                                                                   LIST               I Konkura
            and taking them out, on top of that with work conditions getting gradually worse around the time                                                          IUrodilnowy -
                                                                                                                                                   COMMISSION
            some said no to a comic Idea i was wanting to do that was way too ahead of its time, I was not taking                                                     itydzlendo
                                                                                                                                                   INFORMATION
                                                                                                                                                                      ikoneal
                                                                                                                                                   AMD PRICES
            care of myself letting my body get to the point of having iron javelin spikes through out my whole                                     HERE
            body and forgetting I had bills to pay like a idiot, that was one mistake I never intended to do again,                                                    Przypomlnamy:

             now if this person even once though I put myself through that hell on earth because of a b s
            obsession, wellthey said they did respect me wellI hate to shatter that statement but wouldof been           iPositivity               Skefrisoutl          Qutch
                                                                                                                         iPr^ectl                  Hey DevtantArtl
                                                                                                                                                                        lorral]
            the ultimate form of disrespect that person could of ever given me enough to make me never want to               jwhatisit?            Hope you             The freedom
            ever talk to them or let along speak with them, I'm fully aware on how I acted and I know for a fact         IRecently,IVe             havent              oplay"
                                                                                                                             i noticed that        fbrgotten me.      AAer working
            this person has all the right to shun me but one was said at one time Is not the sole driving force on       fthere is a lack          Ifs been a GWe     hanS wtth your
                                                                                                                         iorposiUvity In           while.              Pokemon by
            what may lead someone like me to put me though that, I didn't learn the skill I was aiming for but I
            gained something else. And also if this person is still thinking I have a none existent obsession with
                                                                                                                              [Evo Hall and        Commissions        i Breeding
            them, do you really view me that much of a eye sore, then why do you even keep me around, I wiil                  Merdi Usane]         (OPEN)
                                                                                                                                                                      1Breeding your
            tell you I will never seek to be unblocked by them nor will I ever seek them out on any site ever, I've           'The freedom                            istryxisabig
                                                                                                                             to play"              HI                 ! declsloni Here
            already purged them from my gmail and skype ages ago and i no longer need them in anyway for art                 'evolving a           everyone.,so*)     i are a few
            improvement. I am fully aware some of my stupid actions during the summer only fueled this                       Pokemon may                              \guidelines to
                                                                                                                              or may net                              Ifollow when
            stereotype and I would tell them just be lucky you don't have to deal with the reality of having your
            future stolen away form you if you decided you wanted to ink a picture, to be honest having my house                    Browse More Like Tiiis • Shop Stntflar Prints
            and my ability to move my life forward would never be worth it, and that person do well to remember
            that. I will only lend my support to this person should they be willing to seek me out, but I will not in
            any way shape or form go out of my way to do so, and as for the challenge continuation I have no                        Featured in Groups
            reason to care about that, besides about being blocked but my characters will never be in that
                                                                                                                                Not currently featured in any groups.
            situation and T'm fully aware of this, this has been something I have been needing to get off my
            che^t for a while you can demote me for posting this here but if you truly view me as a creep then all
            the hard work I put into improving my art learning new things, all those hours of exhausting research,
            the motivation of a absolute freak. I've had to live with this shackle and I can feel more at peace
            finally saying this once and for all." ~Silva592                                                                 Details
                                                                                                                             Submitted on         March 27, 2017
                                                                                                                             Submitted with       Sta.sh Writer
       It was at this time that I banned him from the group. Not before.
                                                                                                                             Link

       At the time, Gottem was going through ups and downs and quitting DevlantArt almost every month. In                      http://fav.me/daxt56s

       March 2016,1 asked for the rights of Nannyso that the communitywouldn't lose such a great monster and                 Thumb
       he gave them to me. In fact, he gave me all his monsters:                                                               :thumb661448836:




https://dreamerdon.deviantart.com/joumal/l-fiteraIly-didn-t-expect-this-661448836                                                                                                         1/6
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3/9/2018                                                      I literally didn't expect this, by DreamerOonon DeviantArt
                                                                                                                          Stats
             Farewell                                                                                                     Views         866 (2 today)
             by gottemsquiekfoatO, Mar 16, 2016, 7:47:58 AM                                                               Fsvou rices   0
             Journals / Perxanal                                                                                          Comments      26



             I've decided to delete everything on here and what I was planning to do after coming to a
             realization on here. During my time on here, I worked hard on what I wanted to show everyone on
             here and tried to be original and helpful wen people had their own thoughts on It but no one cared
             about It In the first place. But when I grew completely frustrated and angry at how pointless
             everything was, people rushed forward to appease me because I was being a dick.

             When It comes down to it, I can't be senselessly cruel to everyone on here Just for the attention so
             I've decided to give up on creative writing entirely. I will be finishing deleting everything I made on
             here after a psychiatric appointment since it never would have recieved much praise anyway
              because no one would have cared or noticed until I reached a crisis moment like yesterday and this
             morning. If anyone, wants to contact me, they can do it through my skype account.
             Jamie.collins@gmail.com

             Good bye everyone. I wish I could have held out longer and not give up on my hopes of Interesting
             you all but I guess that was a hopeless dream right from the start.

              I have entrusted my monster creations to Dreamerdon with my digimon, pokemon and super hero
              ideas to Kit-the wolfy and wolf prince leon if they managed to save any of these stupid idea.




             Farewell


      At this point, all monster creations were transferred to me. But before his departure, Gottem brokered a
      deal between Silva and myself that allowed Silva to continue his art practically unabated. All he had to do
      was not'draw Nanny; he could draw Nanny Jojo as much as he wanted. This was all on March 16, 2016.

      He quit for so long and came back. His next bad down got me so worried that I ended up calling the
      suicide'hotline on his behalf. They couldn't help as they are locally sectioned; so I pleaded with Gottem to
      give them a call. He threw it back In my face literally. I felt so stupid for even trying to help him. So I
      blocked Gottem until he got help AND showed signs of improvement.

      Well, I was stumbling through Silva's artwork sometime last year and found that he took the two original
      pieces that he did of Rachel, inked them and then uploaded them. I filed a DMCA notice on both. The
      matter was resolved so I continued on with my life. It was not until Cotton-CandyAnnie's contest that he
      requested Annie to draw him a ripoff version of Nanny. Annie refused and told me about the ripoff request
      so I paid another visit to Silva's profile where I found out that he was gonna do a story that had an
      alternate version of Nanny in the pre-story. I also found three drawings of Nanny there. Through Annie, I
      denied him the use of Nanny in the story.



             DreamerDon said the following:


             "No."




             Cotton-CandyAnnie said the following;

             "could you ask him for me if he could be willing ot allow the nanny character nanny prime to exsist.
             this is only other nanny character Intend to make, the reason I created her In the first place was to fix
             certain stories into the nanny Jojo cannon. I have a fixed fate for her. if he says no I will honor his
             work but I need this character to fix the mess that Is currently my nanny JoJo cannon, the story Is a
             mess and this characters exslstance Is a way to fix. that I wasn't trying to break copyrights and what
             have you. I will ask Jamison if its ok and ask Jamison to talk with him about it if its okay if that needs
             to happen."

             From Silva




      I tumedihim down because he decided to do it without asking me. If he had someone be a middle party,
      we could've come up with a solution that would have worked for his benefit. Communication Is a two-way
      street.
                i.ji

      He then turned around and threatened Annie:



           1 Cotton-CandyAnnle said the following:
https;//dreamerdon.deviantart.com^oumal/l-literally-didn-t-expect-this-661448836                                                                        2/6
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3/9/2018                                                           I literallydidn't expect this, by DreamerDon on DeviantArt

               "Stop working as a middle man for Dreamer Don or else there will be severe conslquences"




               DreamerDon said the following:

               What did he write?




               Cotton-CandyAnnie said the following:

               Tell lilm what? ;3

               H^'also threatened me sooooo

       NowI can understand people being pissed off at me. That's fine. You can be angry all you want but when
       you start threatening people when you don't like the answer... Well,at that point, I have no sympathy for
       you. So I quoted him on breach of agreement and hit him with a cease and desist letter.

       Which that brings me up to the current issue: Gottem's journal.

       Gottem,


       I'm sorry that you ended up despising me. It's truly unfortunate. If you believe me to be two-faced, that's
       perfectly fine. I accept the fact that you think that of me. But I have not been harassing Sllva.In fact, I
       don't want anything to do with him. WhywouldI waste the time? In fact, I have little time to begin with.
        I work a fulltime Job that forces me to work ridiculous amounts of overtime, whiletrying to start a martial
       arts school. During the week, I only get 2-4 hours of sleep.

       Asto ypu no longerfollowing me, I'm afraidthat I blocked you back InOctober 2016 for the suicide
       attempt'fiasco. You haven't been following me since then.

       But now, I must be very serious. "Punishments"?

       This is literally the third time you have tried to reclaim these rights from me. Sad truth is that they aren't
       your characters anymore. I refuse to transfer any ownership of the following characters:

       Clara
       Alfred        '
       Princess Cuddles - updated monster
       Aqua Sage - updated Monster
       CaptaFn Kitsune - updated Monster
       Victoria - Monster updated
       The Story Queen - updated Monster
       Lucky Duck - updated Monster
       Mao - updated Monsters
       Monty
       Princess Magica
       Franclsca Valentine - Updated Monster
       Miss Margaret Moo - Updated Monster
       Lucy Lacey Laurence - Updated Monster
       Colette
       Inherited Monster: Nanny

       Just to let you know, DeviantArt will delete an account that makes a false claim of ownership on content.
        Please be smart and think on this. Any attempt of harassment you send my way, such as you did with
       Staten, will be immediately forwarded to DeviantArt Admins.

                                                                                                        Donold J. Elson


       ps - please leave me alone


                                                              26 Comments




      -V Iliterally didnt expectthis.                                                                             Itch
      ^ by DreamerDoniss
               Journals / Personal   C>2017-2018 DreamerOon



  Cotton-CandyAnnieO

  EDIT: I Icnew I forgot something... I've included it as a Post script
                Add a Comment:
           ,    r'


https://dreamerdon.deviantart.com/joumal/l-iiteraIly-dldn-t-expect-this-661448836                                               3/6
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3/9/2018                                                                        Iliterally didnt expect this, by DreamerDon on DeviantArt
  :           ;   i
              J   i


                      monstermasterl 3 Jan 26, 2OI8i Hobbyist writer
                      I'm sorry that he acted this way towards you.

      Reply



                  ' AritXWl Mar 28, 2017
                  I I'm just stuck in the middle of all this.

      Reply



                              DreamerDon© Mar 28, 2017 i Hobbyist General Artist
                              I'm terribly sorry.

          Reply


                                    Aritori Mar 28, 2017
                                    IJust hear such scathing thingsfor both sides... I wish this kind of drama didnl get so out of hand.

                  Reply


                         WZM i"                              ^
                                          DreamerDon®             Mar28,2017 l Hobbyist General Artist
                                          I'm just glad ifs subsided

                            Reply



                                               Aritori Mar 30,2017
                                               Same here. At least it calmed down.

                                  Reply

                                                         -            -   -




                                                     ' Dreanr»rDon© Mar 30, 2017 j Hobbyist General Artist
                                                      So how have you been?

                                       Reply



                                                             Aritori Mar 30, 2017
                                                             Goodll


                                              Reply



                                                    <1*' DreamerDon© Mar 30, 2017 IHobbyist General Artist
                                                                 btw, April Fools is just around the corner... and I do have something for
                                                                 you...
                                                     Reply

                                                    (1 Reply)

      ^ ILadyPlush                        Mar 28, 2017

                        Good that I quit this site and I'm not Involved In all of It"- JullefMldrgo" Roksan

      Reply



                              DreamerDon© Mar 28, 2017 l Hobbyist General Artist
                          i I hope Midrgo is doing well on her recovery...

              Reply


                                    LadyPlush Mar 28,2017
                       Wi
                                    She is good, some few more weeks and I think that she will be completely cured

                      Reply



                                       ' DreamerDon© Mar28, 2017 l Hobbyist General Artist
                                       : That*s fentastic



https://dreamerdon.deviantart.com/joumal/l-literally-didn-t-expect-this-661448836                                                            4/6
           Case 1:18-cv-00271-LMB-JFA Document 1-3 Filed 03/12/18 Page 5 of 6 PageID# 23
3/9/2018                                                                    I literallydidnl expect this, by DreamerOon on DeviantArt
                      Reply       L


                   Cotton-CandyAnnle® Mar 28,201?
               i Glad you'vegot your side of the story out there

   Reply



                      • DreamerDon© Mar 28, 2017 • Hobbyist General Artist
      iis?                Yeah. His side Is gone though.

          Reply



                             ^Cotton-CandyAnnieO Mar 28,2017
                               Did he take it down???

               Reply



                                  ' DreamerDon© Mar 28,20x7 : Hobbyist General Artist
                                  j don't know.., I did report it

                      Reply


                                              Cotton-CandyAnrrie© Mar 28,2017
                                         I Likewiseeee

                             Reply


                                  ^'B ' DreamerDon® Mar 28, 2017 1HobbyistGeneral Artist
                                                 i I'm just glad it's over even Ifits temporary

                                   Reply         i



                                                        Cotton-CandyAnnie© Mar 28,2017
                                                       Yeah, agreed

                                          Reply



                   Qoth-King Mar 28,2017
                   This ls...hard to truly grasp this in my own way. Bit nonetheless some Issues need to be resolved.

   Reply



                          DreamerOon© Mar 28, 2017 ; Hobbyist General ArtJst
                      ; Ultimately, I want Gottem to stop attacking me and both of them to leave me alone.

           Reply


                               Cloth-Kins Mar 28,2017
                             i I see,dueto these creatures. I mean I had sllva come to mewanting to have some ofmy silkies
                             i involved, but I had to decline for I wish for them. It to be involved in well the diaper sort of thing
                  Reply      ^dueto my preference. He obliged and haven't had anytrouble....a seeing this issorta a shock.

                          I'v'S       DreamerDonO Mar28, 2017 i Hobbyist General Artist
                                   : I'm sorry that you got a shock like this and I'm truly sorry that it came down to fighting like
                                      this.
                       Reply



                                              Qoth-Kir^ Mar 28, 2017
                                              Ah, it's fine nothing too shocking really from what I csn guess.

                              Reply




                                                                 Previous         Next


              • Add a Comment:

               r
    '3'

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